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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:08CR473
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                     ORDER
                                             )
QUIRT GLAZE,                                 )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s motion to modify his conditions

of release (Filing No. 131).

       The Defendant requests a modification of his conditions of release allowing him to

return to his mother’s residence in North Platte, Nebraska, prior to self surrendering for

incarceration. The Defendant has presented a plan to continue his recovery process to his

pretrial services officer while he is in North Platte. The motion is unopposed and is

supported by the Defendant’s supervising pretrial services officer. Therefore, the motion

is granted.

       IT IS ORDERED:

       1.     The Defendant’s motion to modify his conditions of release (Filing No. 131)

              is granted; and

       2.     The Defendant’s conditions of release are modified to allow for him to reside

              with his mother in North Platte, Nebraska, as of a date agreeable to the

              supervising U.S. Pretrial Services Officer.

       DATED this 9th day of September, 2009.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
